                                                                                                 PLAINTIFF'S
                                                                                                   EXHIBIT
                                                                                                            3

    N:il3xffi
    Wilkes Medical Associates




         April4,2018



         EarlA Cook
         153 Green Leaf Dr
         Wilkesboro NC 28697




Novant Health Wilkes
Medical Associates        Patient:      EarlA Cook
1919 West Park Drive      Date of Birth: 9/11/1985
North \Mlkesboro NC
28659-3564                Date of Visit: 4/4/2018
Phone: 336-65'1-2980
Fax. 336-667-2047

                         To Wrom lt May Concern:

                         It is my medical opinion that Earl Cook Needs note for work stating ok to return to
                         work with the following restrictions for at least the next 6 months.
                         1. No heavy lifting greater than 25 pounds.
                         2. No driving for at least 6 months.
                         3. Requires 10 minute break every 2-2.5 hours. .

                         lf you have any questions or concerns, please don't hesitate to call.

                         Sincerely,

                         Samantha Billings

                         Taylor A Norman, PA-C




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